AO 93 (Rev. 11/13) Search and Seizure Warrant




                                           UNITED STATES DISTRICT COURT AUG 16 ZDZ3
                                                                             for the
                                                                                                            Clerk, U. S. District Court
                                                              Eastern District of Tennessee               Eastern District of Tennessee
                                                                                                                   At f<noxvi/le
                  In the Matter of the Search of
                                                                                )
              (Briefly describe the property to be searched
               or identify the person by name and address)
   Residence located at 109 S Gallaher View
                                                                                )
                                                                                )
                                                                                       Case No.   3:23-MJ~ \   \1.j
   Road, Apt 143, Knoxville, TN 37919 and the                                   )
   Blue Toyota Sienna Minivan bearing TN Tag                                    )
   No. 343BGQD                                                                  )
                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Eastern            District of              Tennessee
(identify the person or describe the property to be searched and give its location):

      Residence located at 109 S Gallaher View Road, Apt 143, Knoxville, TN 37919 and the Blue Toyota Sienna Minivan bearing
      TN Tag No. 343BGQD (See, Attachment A).




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
    Please see Attachment B




           YOU ARE COMMANDED to execute this warrant on or before                August 16, 2023         (not to exceed 14 days)
       ';/ in the daytime 6:00 a.m. to 10:00 p.m. 0 at anytime in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       Hon. Debra C. Poplin
                                                                                                     (United States Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the later·specific date of       .


Date and time issued:         1/-z_/?eJ'22;          Q_ 002:,pr....,                     ~                  ~--=
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City and state:             Knoxville, Tennessee                                         Hon. Debra C. Poplin, United States Magistrate Judge
                                                                                                           Printed name and title


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                                                                   Return

Case No.:      \ \,")                    Date and time warrant executed:        Co   of warrant and inventory left with:
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Inventory of the property taken and name of any person(s) seized:




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                                                                Certification


        I declare under penalty ofpe1jury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:      J ·-/5' ✓ 2_3
                                                                                      Executing officer 's signature


                                                                                         Pri; ted name and title




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                                      ATTACHMENT A

                    DESCRIPTION OF PREMISES TO BE SEARCHED

Premises:
        Apartment# 143 at the InTown Suites Extended Stay located at 109 S Gallaher View Rd.,
Knoxville, TN 37919 in the Eastern District of Tennessee, for any computer/device(s ), computer-
related media and smartphones located on the premises and within the blue Toyota Sienna TN tag
343BGQD.

Physical Description of Premises:
       See Attached photo of apartment # 143 of the InTown Suites Extended Stay building
located at 109 S Gallaher View Rd., Knoxville, TN 37919. See attached photograph of Toyota
Sienna TN Tag 343BGQD.

Premises Location:
       The In Town Suites Extended Stay is located at 109 S Gallaher View Rd., Knoxville, TN
37919. Apa11ment #143 is located on the ground floor on the South East side of the building. The
apartment has a blue door and the number 143 to the right of the door. Windows on either side of
the door with what appears to be an air conditioning/heating unit under the window to the right of
the door. The Toyota Sienna TN Tag 343BGQD is usually parked in the parking lot of the
apartment complex in front of or near apartment #143.




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                                       ATTACHMENTB

Below is a list of items to be searched and seized from the premises described in
ATTACHMENT A:

         1.    Computer(s), computer hardware, software, related documentation, passwords,
data security devices (as described below), videotapes, video recording devices, video recording
players, monitors and or televisions, flatbed scanners and data where instrumentalities of and will
contain evidence related to this crime. The following definitions apply to the terms as set out in
this attachment:

       (a) Computer Hardware:

        Computer hardware consists of all equipment, which can receive, capture, collect, analyze,
create, display, convert, store, conceal, or transmit electronic, magnetic, or similar computer
impulses ·or data. Hardware includes any data-processing devices (including but not limited to
central processing units; internal and peripheral storage devices such as thumb drives, CD-RO Ms,
external hard drives, media cards (SD, Compact Flash, micro SD, memory stick), smart phones,
smart televisions, computer game consoles (Sony PlayStation, Xbox), tablets, iPods or iPads, and
other memory storage devices); peripheral input/output devices (including but not limited to
keyboards, printers, video display monitors, and related communication devices such as cables and
connections), as well as any devices, mechanisms, or parts that can be used to restrict access to
computer hardware (including but not limited to physical keys and locks).

       (b) Computer Software:

        · Computer software is digital infonnation, which can be interpreted by a computer and any
of its related components to direct the way they work. Software is stored in electronic, magnetic,
or other digital form. It commonly includes programs to run operating systems, applications, and
utilities.

       (c) Documentation:

        Computer-related documentation consists of written, recorded, printed, or electronically
stored material, which explains or illustrates how to configure or use computer hardware, software,
or other related items.

       (d) Passwords and Data Security Devices:

        Computer passwords and other data security devices are desig.ned to restrict access to or
hide computer software, documentation, or data. Data security devices may consist of hardware,
software, or other programming code. A password (a string of alpha-numeric characters) usually
operates a sort of digital key to "unlock" particular data security devices. Data security hardware
may include encryption devices, chips, and circuit boards. Data security software of digital code
may include programming code that creates "test" keys or "hot" keys, which perform certain pre-
set security functions when touched. Data security software or code may also encrypt, compress,




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hide, or "booby-trap" protected data to make it inaccessible or unusable, as well as reverse the
progress to restore it.

       1.      Child pornography in any form.

       2.     Any and all notes, documents, records, or correspondence pertaining to child
pornography as defined under Title 18, United States Code, Section 2256(8).

       3.      Any and all correspondence identifying persons transmitting, through interstate
commerce including the United States mail or computers, any visual depictions of minors engaged
in sexually explicit conduct, as defined in Title 18, United States Code, Section 2256(2).

       4.    · Any and all diaries, notebooks, notes, and any other records reflecting personal
contact and any other activities with minors visually depicted while engaged in sexually explicit
conduct, as defined in Title 18, United States Code, Section 2256(2).




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